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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF WYOMING

GRACIE ANNE FORTH,                        )
                                          )
           Plaintiff,                     )
                                          )
v.                                        )
                                          )
LARAMIE COUNTY SCHOOL DISTRICT No. 1 )             Civil No. 20-CV-53-ABJ
and John/Jane Does 1-10 in                )
his/her official and individual capacity. )
                                          )
           Defendants.                    )
______________________________________________________________________________

  ORDER GRANTING PLAINTIFF’S REQUEST FOR AN EXTENSION OF TIME TO
                           FILE NOTICE OF APPEAL
______________________________________________________________________________

       THIS MATTER having come before this Court on Plaintiff’s Request for an Extension of

Time to File Notice of Appeal, and this Court being fully advised in the premises; and finding that

good cause exists to extend the deadline to file the Notice of Appeal by thirty (30) days; and finding

that this Court may grant an extension of this deadline pursuant to Fed. R. App. P. 4(a)(5)(A):

       IT IS ORDERED that Plaintiff’s Request for an Extension of Time to File Notice of Appeal

is GRANTED. Plaintiff’s deadline to file a Notice of Appeal is extended to November 9, 2021.

       DATED this ___ day of October, 2021.




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